         Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 1 of 25




                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION                                                  MDL No. 1456

                                                            CIVIL ACTION: 01-CV-12257-PBS

                                                            Judge Patti B. Saris

    THIS DOCUMENT RELATES TO
    ALL CLASS ACTIONS


       GLAXOSMITHKLINE’S ANSWER TO PLAINTIFFS’ AMENDED MASTER
               CONSOLIDATED CLASS ACTION COMPLAINT

         Defendant SmithKline Beecham Corporation d/b/a GlaxoSmithKline1 (“GSK”), for its

Answer to Plaintiffs’ Amended Master Consolidated Class Action Complaint (the “AMCC”)

filed on January 22, 2004, states:

                                                   Preface

         The AMCC improperly and repetitively refers to GSK and certain other defendants and

third parties on a collective basis, failing to plead with requisite particularity allegations against

GSK or other defendants or third parties. Intentionally ambiguous pleading is improper and

insufficient to apprise GSK in any meaningful sense of the allegations asserted against it. GSK

has nevertheless attempted to respond to Plaintiffs’ allegations to the extent possible under the

circumstances. To the extent allegations refer to the knowledge, conduct or actions of other

defendants or entities, GSK is generally without knowledge or information sufficient to form a

1
         SmithKline Beecham Corporation, d/b/a GlaxoSmithKline, is one of the three defendants comprising the
         so-called “GSK Group” in the AMCC. Named defendant GlaxoSmithKline, plc, a foreign holding
         company, has not yet been properly served under the Hague Convention and no appearance has been made
         on its behalf. Named defendant Glaxo Wellcome, Inc. no longer exists, as it was previously merged into
         SmithKline Beecham Corporation to form SmithKline Beecham Corporation, d/b/a GlaxoSmithKline and,
         therefore, no appearance has been entered on its behalf either.
DC: 1301344-2                                          1
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 2 of 25




belief as to the truth of those allegations and, on that basis, GSK denies those allegations. GSK

states that it is answering Plaintiffs’ allegations on behalf of itself only, even when Plaintiffs’

allegations refer to alleged conduct by GSK and other persons or entities.

        The AMCC improperly mixes factual allegations with inflammatory rhetoric so as to

make it virtually impossible to respond meaningfully. Many of the allegations of the AMCC are

vague or conclusory. The AMCC also includes terms which are undefined and which are

susceptible of different meanings.

        The AMCC also contains purported quotations from a number of sources, many of which

are unidentified. If any of the quotations originate in documents protected by the attorney-client

privilege, the work-product doctrine or the joint-defense privilege, GSK reserves the right to

assert such privileges, hereby moves to strike such references and demands return of any such

documents that Plaintiffs may have in their possession, custody or control.          In answering

allegations consisting of quotations, an admission that the material quoted was contained in a

document or was uttered by the person or entity quoted shall not constitute an admission that the

substantive content of the quote is or is not true or that the material is relevant or admissible in

this action.

        GSK denies each and every allegation contained in the AMCC, except as specifically

herein admitted, and any factual averment admitted herein is admitted only as to the specific

facts and not as to any conclusions, characterizations, implications, innuendos or speculations

which are contained in any averment or in the AMCC as a whole. Moreover, GSK specifically

denies any allegations contained in headings, footnotes, the Table of Contents or unnumbered

paragraphs in the AMCC.




                                                 2
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 3 of 25




       These comments and objections are incorporated, to the extent appropriate, into each

numbered paragraph of this Answer.

                                      I. INTRODUCTION

       1.      GSK admits that Plaintiffs seek to bring this action as alleged in Paragraph 1 of

the AMCC. GSK denies that Plaintiffs are entitled to maintain this action in the manner alleged.

       2.      GSK denies the existence of, or its participation in, any “conspiracy” as alleged in

Paragraph 2 of the AMCC. To the extent the allegations in Paragraph 2 of the AMCC allege a

conspiracy between GSK and various publishing entities, no response is required because these

allegations, which formed the basis of Count I of the AMCC, were dismissed with prejudice by

the Court’s Order dated February 25, 2004. To the extent the allegations in Paragraph 2 of the

AMCC refer to the knowledge, conduct or actions of persons or entities other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations.

       3.      To the extent the allegations in Paragraph 3 of the AMCC are directed to persons,

entities or defendants other than GSK, GSK is without knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, denies those allegations. GSK

admits that it manufactures certain medicines that are covered under Medicare Part B, and that

Congress has mandated that Medicare Part B reimbursements be based, in part, upon AWP.

GSK admits that it reports certain pricing information for its medicines to pharmaceutical

industry pricing publications. GSK admits that AWPs for its medicines published in trade

publications are typically higher than the prices ultimately paid by providers purchasing such

medicines from wholesalers and distributors. GSK denies the remaining allegations in Paragraph

3 of the AMCC that pertain to it.




                                                3
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 4 of 25




       4.      To the extent the allegations in Paragraph 4 of the AMCC refer to the knowledge,

conduct or actions of persons, entities or defendants other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations. GSK admits that Congress has mandated that Medicare Part B reimbursements

be based, in part, upon AWP, and further admits that Medicare Part B medicines are generally,

but not always, administered in a healthcare provider’s office. GSK denies the remaining

allegations in Paragraph 4 of the AMCC that pertain to it.

       5.      GSK denies the existence of, and its participation in, any “AWP scheme” as

alleged in Paragraph 5 of the AMCC. To the extent the allegations in Paragraph 5 of the AMCC

refer to the knowledge, conduct or actions of persons, entities or defendants other than GSK,

GSK is without knowledge or information sufficient to form a belief as to the truth of those

allegations and, therefore, denies those allegations. GSK denies the remaining allegations in

Paragraph 5 of the AMCC that pertain to it.

       6.      To the extent the allegations in Paragraph 6 of the AMCC refer to the knowledge,

conduct or actions of persons, entities or defendants other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations. GSK admits that Plaintiffs purport to bring this action as alleged in Paragraph

6 of the AMCC, but GSK denies that Plaintiffs are entitled to maintain this action in the manner

alleged. GSK denies the remaining allegations in Paragraph 6 of the AMCC that pertain to it.

       7.      GSK denies the existence of, and its participation in, any “high profit scheme” as

alleged in Paragraph 7 of the AMCC. To the extent the allegations in Paragraph 7 of the AMCC

refer to the knowledge, conduct or actions of persons, entities or defendants other than GSK,

GSK is without knowledge or information sufficient to form a belief as to the truth of those




                                                  4
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 5 of 25




allegations and, therefore, denies those allegations. GSK denies the remaining allegations in

Paragraph 7 of the AMCC that pertain to it.

       8.     GSK denies the existence of, and its participation in, any “scheme” or “unlawful

agreement” as alleged in Paragraph 8 of the AMCC. To the extent the allegations in Paragraph 8

of the AMCC refer to the knowledge, conduct or actions of persons, entities or defendants other

than GSK, GSK is without knowledge or information sufficient to form a belief as to the truth of

those allegations and, therefore, denies those allegations.     GSK denies the allegations in

Paragraph 8 of the AMCC that pertain to it, except GSK admits that it participates in the

Together Rx Card Program which commenced in 2002 and allows poor, elderly Americans to

enjoy substantial discounts on covered medicines.

       9-10. GSK denies the existence of, or its participation in, any “conspiracy” as alleged in

Paragraphs 9 through 10 of the AMCC. To the extent the allegations in Paragraphs 9 through 10

of the AMCC refer to the knowledge, conduct or actions of persons, entities or defendants other

than GSK, GSK is without knowledge or information sufficient to form a belief as to the truth of

those allegations and, therefore, denies those allegations. GSK denies the remaining allegations

in Paragraphs 9 through 10 of the AMCC that pertain to it.

       11.    Answering Paragraph 11 of the AMCC, GSK admits that Plaintiffs have filed

attachments to the AMCC. To the extent the allegations in Paragraph 11 of the AMCC are

deemed to include allegations against GSK, they are denied.

       12.    The Court dismissed Count I in its Order dated February 25, 2004. Accordingly,

GSK does not respond to Paragraph 12 of the AMCC. To the extent a response is required, GSK

denies the allegations in Paragraph 12 and Count I of the AMCC.




                                               5
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 6 of 25




       13-21. GSK denies the existence of, or its participation in, any “enterprise,” “scheme” or

“conspiracy” as alleged in Paragraphs 13 through 21 of the AMCC. GSK admits that Plaintiffs

purport to bring this action as a class action, and that Plaintiffs seek relief under Counts II

through X as alleged in Paragraphs 13 through 21 of the AMCC. GSK denies that this action can

be maintained in the manner alleged, and further denies that Plaintiffs are entitled to relief under

Counts II through X of the AMCC.

                               II. JURISDICTION AND VENUE

        22. GSK denies that it has violated the Racketeer Influenced and Corrupt Organization

Act (“RICO”), 18 U.S.C. §§ 1961-68, as alleged in Paragraph 22 of the AMCC, denies that there

exists any basis in fact or law for the institution or maintenance of this action against GSK, and

otherwise denies knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 22 of the AMCC as to the other parties. In addition, to the extent that

Paragraph 22 of the AMCC contains conclusions of law, GSK states that no response is required.

        23. GSK denies that it has violated any state law claims as alleged in Paragraph 23 of the

AMCC, and denies that there exists any basis in fact or law for the institution or maintenance of

this action against GSK. In addition, to the extent that Paragraph 23 of the AMCC contains

conclusions of law, GSK states that no response is required.

        24. GSK denies the allegations in Paragraph 24 of the AMCC to the extent that they are

directed at GSK, except admits that Plaintiffs allege that venue is proper in this judicial district.

GSK denies that there exists any basis in fact or law for the institution or maintenance of this

action against GSK, and specifically denies the existence of, and its participation in, any alleged

“fraudulent marketing scheme.” In addition, to the extent that Paragraph 24 of the AMCC

contains conclusions of law, GSK states that no response is required.




                                                 6
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 7 of 25




        25. GSK admits the allegations in Paragraph 25 of the AMCC.

                                         III. PARTIES

       26-31. GSK is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraphs 26 through 31 of the AMCC and, therefore, denies those

allegations.

       32-36. GSK admits that Plaintiffs VPIRG, WCA, StateWide, CANY and CCJ purport to

bring this action as alleged in Paragraphs 32 through 36 of the AMCC, but GSK denies that these

Plaintiffs have standing to bring the alleged action. GSK is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraphs 32 through 36

of the AMCC and, therefore, denies those allegations.

       36(a)–(c). GSK is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraphs 36(a) through 36(c) of the AMCC and, therefore, denies

those allegations.

       37-38. To the extent the allegations in Paragraphs 37 through 38 of the AMCC refer to

the knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. GSK denies the remaining allegations in Paragraphs 37

through 38 of the AMCC that pertain to it. GSK denies the existence of, or its participation in,

any “conspiracy” as alleged in Paragraph 38 of the AMCC.

       39-86. The allegations in Paragraphs 39 through 86 of the AMCC are directed to other

defendants and require no response from GSK. To the extent the allegations in Paragraphs 39

through 86 of the AMCC are deemed to include allegations against GSK, they are denied.




                                                 7
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 8 of 25




       87. In response to Paragraph 87 of the AMCC, GSK admits only that GlaxoSmithKline

plc is an English holding company headquartered in Middlesex, England, and that it acquired the

stock of SmithKline Beecham plc and Glaxo Wellcome plc in December 2000. Except as so

admitted, GSK denies the remaining allegations of this Paragraph. GSK specifically denies that

GlaxoSmithKline plc had any involvement with the matters alleged in the AMCC. GSK further

specifically denies that GlaxoSmithKline plc’s “operational headquarters are located at One

Franklin Plaza, 16th and Race Streets, Philadelphia, Pennsylvania.”

       88.     GSK admits the allegations of Paragraph 88 of the AMCC.

       89.     GSK denies the allegations of Paragraph 89 of the AMCC. By way of further

answer, GSK states that Glaxo Wellcome, Inc. was merged into SmithKline Beecham

Corporation in March 2001 and no longer exists as a corporation.

       90.     In response to the allegations of Paragraph 90 of the AMCC, GSK admits only

that Plaintiffs refer to GlaxoSmithKline plc, SmithKline Beecham Corporation, and Glaxo

Wellcome, Inc. as “GSK Group” in the AMCC.            Except as so admitted, GSK denies the

remaining allegations of this Paragraph and incorporates its answers above concerning Glaxo

Wellcome, Inc. and GlaxoSmithKline plc. GSK further states that Plaintiffs have failed to effect

valid service of process on either GlaxoSmithKline plc or Glaxo Wellcome, Inc.

       91.     In response to the allegations of Paragraph 91 of the AMCC, GSK admits only

that it is a pharmaceutical company.      Except as so admitted, GSK denies the remaining

allegations of this Paragraph. By way of further answer, the allegations in this Paragraph are

directed to other defendants not properly served with valid service of process, and therefore

require no response from GSK.




                                                8
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 9 of 25




       92.      In response to the allegations of Paragraph 92 of the AMCC, GSK admits that it

manufactured and sold Hycamtin, Ventolin, Zofran, and Navelbine. GSK further admits that it

manufactured and sold Kytril until December 22, 2000 when Kytril was sold to Hoffman-

LaRoche, Inc.     GSK further admits that Kytril and Zofran, although not therapeutically

equivalent products as that term is used by the FDA, were and are competing antiemetics. GSK

further admits that certain formulations of Hycamtin, Zofran, Navelbine, Ventolin, and Kytril

were covered by Medicare Part B under certain circumstances. Except as so admitted, GSK

denies the remaining allegations of this Paragraph.

       93.      In response to the allegations of Paragraph 93 of the AMCC, GSK admits only

that it is named as an alleged conspirator in the Together Rx claims herein. Except as so

admitted, GSK denies the remaining allegations of this Paragraph. It is specifically denied that

GSK engaged in any conspiracy.

       94-131. The allegations in Paragraphs 94 through 131 of the AMCC are directed to other

defendants and require no response from GSK. To the extent the allegations in Paragraphs 94

through 131 of the AMCC are deemed to include allegations against GSK, they are denied,

except GSK admits that it is a participant of Together Rx, LLC, a Delaware limited liability

company, as alleged in Paragraph 131 of the AMCC.

        IV. GENERAL ALLEGATIONS APPLICABLE TO ALL DEFENDANTS

       132.     To the extent the allegations in Paragraph 132 of the AMCC are directed to other

defendants, GSK is without knowledge or information sufficient to form a belief as to the truth

of those allegations and, therefore, denies those allegations. GSK denies the allegations in

Paragraph 132 of the AMCC that pertain to it.




                                                9
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 10 of 25




       133.    Upon information and belief, GSK admits the allegations in Paragraph 133 of the

AMCC.

       134-141. To the extent the allegations in Paragraphs 134 through 141 of the AMCC refer

to the knowledge, conduct, opinions or actions of persons, entities or defendants other than GSK,

GSK is without knowledge or information sufficient to form a belief as to the truth of those

allegations and, therefore, denies those allegations. Further answering Paragraph 134 of the

AMCC, GSK admits that Congress has mandated that Medicare Part B reimbursements be based,

in part, upon AWP. Further answering Paragraphs 135 and 136 of the AMCC, GSK admits that

pharmaceutical industry pricing publications periodically report AWPs for prescription

medicines sold in the United States. GSK states that the 1999 edition of the Red Book and the

June 1996 Dow Jones News article cited in Paragraph 136 of the AMCC are the best evidence of

their contents. GSK denies the remaining allegations in Paragraphs 134 through 141 of the

AMCC that pertain to it, and specifically denies the existence of, and its participation in, any

“AWP Scheme” as alleged in Paragraph 140 of the AMCC.

       142-144. GSK admits the allegations in Paragraphs 142 through 144 of the AMCC.

       145.    In response to the allegations in Paragraph 145 of the AMCC, GSK admits that

the reimbursement methodology for drugs covered by Medicare Part B is set forth at 42 C.F.R. §

405.517, which is the best evidence of its contents.

       146.    GSK denies the allegations in the first sentence of Paragraph 146 of the AMCC

insofar as the source of the quoted material is unidentified. GSK denies the second sentence of

Paragraph 146 of the AMCC insofar as 42 C.F.R. § 405.517 contains no reference to a “ceiling”

on reimbursement amounts.

       147.    GSK admits the allegations in Paragraph 147 of the AMCC.




                                                10
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 11 of 25




       148.   Answering Paragraph 148 of the AMCC, GSK admits that the Medicare Program

has publicly announced that it would use the AWP published in independently produced pricing

publications as the basis for reimbursement. GSK states that the Program Memo AB-99-63 cited

in Paragraph 148 of the AMCC is the best evidence of its contents.

       149.   GSK states that the Program Memo AB-99-63 cited in Paragraph 149 of the

AMCC is the best evidence of its contents.

       150-151. GSK admits the allegations in Paragraphs 150 through 151 of the AMCC.

       152.   To the extent the allegations in Paragraph 152 of the AMCC refer to the

knowledge, conduct or actions of or benefits received by persons, entities or defendants other

than GSK, GSK is without knowledge or information sufficient to form a belief as to the truth of

those allegations and, therefore, denies those allegations.    GSK admits that there are no

government regulations describing how AWPs are calculated, nor any other statutory or

regulatory definitions or descriptions of AWPs. GSK admits that it reports certain pricing

information for its medicines to pharmaceutical industry pricing publications. GSK denies the

remaining allegations in Paragraph 152 of the AMCC that pertain to it.

       153-154. GSK states that the April 2003 OIG report cited in Paragraphs 153 through 154

of the AMCC is the best evidence of its contents. GSK denies that Plaintiffs have accurately

characterized any alleged OIG finding, opinion, statement or conclusion, or that such are

applicable to GSK.

       155.   GSK denies the allegations in Paragraph 155 of the AMCC, except admits that the

federal government has been investigating drug marketing and pricing practices.

       156-157. GSK denies the existence of, and its participation in, any “scheme” cited in

Paragraph 156 of the AMCC. GSK states that the September 28, 2000, letter from Congressman




                                              11
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 12 of 25




Stark to the President of Pharmaceutical Research and Manufacturers of America cited in

Paragraphs 156 through 157 of the AMCC is the best evidence of its contents. GSK denies that

Plaintiffs have accurately characterized the findings, opinions, statements or conclusions of

Congressman Stark, or that such are applicable to GSK.

       158. GSK denies the allegations in Paragraph 158 of the AMCC, except admits that the

federal government has been investigating drug marketing and pricing practices.

       159. To the extent the allegations in Paragraph 159 of the AMCC refer to the knowledge,

conduct or actions of persons, entities or defendants other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations. GSK denies the remaining allegations in Paragraph 159 of the AMCC that

pertain to it, specifically the existence of, and its participation in, any “scheme” as alleged in

Paragraph 159 of the AMCC.

       160. To the extent the allegations in Paragraph 160 of the AMCC refer to the knowledge,

conduct or actions of persons, entities or defendants other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations.   GSK admits that it reported AWPs for its medicines to pharmaceutical

industry pricing publications before August 2001, but GSK denies that it has done so since.

GSK admits the remaining allegations in Paragraph 160 of the AMCC that pertain to it.

       161-184. To the extent the allegations in Paragraphs 164 through 184 of the AMCC refer

to the knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. GSK admits the allegations in Paragraph 170 of the

AMCC, except denies knowledge or information sufficient to form a belief as to the truth of the




                                                 12
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 13 of 25




allegations in the last sentence of that paragraph. GSK avers that The Wall Street Journal article

dated March 30, 2003, referenced in Paragraph 178 of the AMCC, is the best evidence of its

content, which speaks for itself.    GSK denies the remaining allegations in Paragraphs 164

through 184 of the AMCC that pertain to it, including the existence of, and its participation in,

any “scheme” as alleged in Paragraphs 161 and 163 of the AMCC.

       185.    GSK admits that Plaintiffs purport to quote from an unidentified “industry

consultant” as alleged in Paragraph 185 of the AMCC, but GSK is without knowledge or

information sufficient to form a belief as to the truth of the allegations in Paragraph 185 of the

AMCC and, therefore, denies those allegations.

       186-191. To the extent the allegations in Paragraphs 186 through 191 of the AMCC and

its subparts refer to the knowledge, conduct or actions of persons, entities or defendants other

than GSK, GSK is without knowledge or information sufficient to form a belief as to the truth of

those allegations and, therefore, denies those allegations. GSK states that the Red Book and the

unidentified DOJ report cited in Paragraph 187 of the AMCC and the pleadings cited in

Paragraphs 189 through 190 of the AMCC and subparts are the best evidence of their contents.

To the extent the allegations in Paragraphs 186 through 191 of the AMCC are deemed to include

allegations against GSK, they are denied.

       192.    To the extent the allegations in Paragraph 192 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK states the 2003 CMS document cited in Paragraph 192

of the AMCC is the best evidence of its contents. GSK denies that Plaintiffs have accurately

characterized any alleged CMS finding, opinion, statement or conclusion. GSK admits that it




                                               13
         Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 14 of 25




sells its medicines in a competitive market and, as such, takes steps to keep certain information

relating to its medicines confidential. GSK denies the remaining allegations in Paragraph 192 of

the AMCC that pertain to it.

         193-196. To the extent the allegations in Paragraphs 193 through 196 of the AMCC refer

to the knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. GSK denies the allegations in Paragraphs 193 through

196 of the AMCC that pertain to it.

         197.   In response to the allegations in Paragraph 197 of the AMCC, GSK denies that

Plaintiffs lacked inquiry or other notice of the issues associated with reliance on AWPs as a

pricing benchmark. GSK specifically avers, to the contrary, that such issues were well known

for more than a decade before Plaintiffs elected to bring this suit.

         198-199. The allegations in Paragraphs 198 through 199 of the AMCC state legal

conclusions to which no response is required. To the extent a response is required, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations in

Paragraphs 198 through 199 of the AMCC that refer to the knowledge, conduct or actions of

persons, entities or defendants other than GSK, and, therefore, GSK denies those allegations.

GSK denies the remaining allegations in Paragraphs 198 through 199 of the AMCC that pertain

to it.

                V.     EXAMPLES OF SPECIFIC UNLAWFUL CONDUCT

         200.   To the extent the allegations in Paragraph 200 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,




                                                 14
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 15 of 25




therefore, denies those allegations. GSK denies the remaining allegations in Paragraph 200 of

the AMCC that pertain to it.

       201-375. The allegations in Paragraphs 201 through 375 of the AMCC are directed to

other defendants and require no response from GSK. To the extent allegations in Paragraphs 201

through 375 of the AMCC are deemed to include allegations against GSK, they are denied.

       376.    In response to the allegations of Paragraph 376 of the AMCC, GSK admits only

that Plaintiffs seek recovery as described, but denies that Plaintiffs are entitled to such recovery,

and denies that GSK is in any way liable to Plaintiffs. Except as so admitted, GSK denies the

remaining allegations of this Paragraph.

       377.    In response to the allegations of Paragraph 377 of the AMCC, GSK admits only

that, in response to subpoenas and/or requests for information, it has provided documents and/or

information with respect to certain products to the United States Department of Justice, the

Office of Inspector General of the Department of Health and Human Services, the Attorney

General for Texas, the Attorney General for California, and the Attorney General for Nevada.

Except as so admitted, GSK denies the remaining allegations of this Paragraph.

       378.    GSK denies the allegations of Paragraph 378 of the AMCC.

       379.    In response to the allegations of Paragraph 379 of the AMCC, GSK admits only

that Medicare and some private insurers reimburse for prescription drugs based on some

percentage of the AWP reported by third-party publishing services, such as First DataBank Inc.

and Facts and Comparisons. Except as so admitted, GSK denies the remaining allegations of this

Paragraph. To the extent the allegations in this Paragraph refer to a document, that document

speaks for itself. Any allegations inconsistent with the plain meaning and clear terms of the

complete document are denied.




                                                 15
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 16 of 25




          380.   GSK denies the allegations of Paragraph 380 of the AMCC. It is specifically

denied that the document referred to in this Paragraph was prepared by Glaxo Wellcome, Inc.

To the extent the allegations in this Paragraph refer to a document, that document speaks for

itself. Any allegations inconsistent with the plain meaning and clear terms of the complete

document are denied.

          381.   GSK denies the allegations in Paragraph 381 of the AMCC. To the extent the

allegations of this Paragraph are directed to other defendants, no response is required from GSK

and GSK is without knowledge or information sufficient to form a belief as to the truth of those

allegations.

          382.   In response to the allegations of Paragraph 382 of the AMCC, GSK admits only

that Medicare and some private insurers reimburse for prescription drugs based on some

percentage of the AWP reported by third-party publishing services, such as First DataBank Inc.

and Facts and Comparisons. Except as so admitted, GSK denies the remaining allegations of this

Paragraph. It is specifically denied that the document referred to in this Paragraph was prepared

by Glaxo Wellcome, Inc. To the extent the allegations in this Paragraph refer to a document, that

document speaks for itself. Any allegations inconsistent with the plain meaning and clear terms

of the complete document are denied.

          383.   GSK denies the allegations of Paragraph 383 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.         Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          384.   GSK denies the allegations of Paragraph 384 of the AMCC.




                                               16
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 17 of 25




          385.   In response to the allegations of Paragraph 385 of the AMCC, GSK admits that

Zofran and Kytril are both antiemetics prescribed by physicians for chemotherapy-induced

nausea and vomiting. GSK further admits that Zofran and Kytril, although not therapeutically

equivalent products as that term is used by the FDA, were and are competing antiemetics. GSK

states that Kytril was sold to Hoffman-LaRoche, Inc. in December 22, 2000. Except as so

admitted, GSK denies the remaining allegations of this Paragraph.

          386.   GSK denies the allegations of Paragraph 386 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          387.   To the extent the allegations of Paragraph 387 of the AMCC refer to a document,

that document speaks for itself. Any allegations inconsistent with the plain meaning and clear

terms of the complete document are denied.

          388.   GSK denies the allegations of Paragraph 388 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          389.   GSK denies the allegations of Paragraph 389 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          390.   GSK denies the allegations of Paragraph 390 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any




                                                17
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 18 of 25




allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          391.   GSK denies the allegations of Paragraph 391 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.      Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          392.   GSK denies the allegations of Paragraph 392 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.      Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          393.   GSK denies the allegations of Paragraph 393 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.      Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          394.   In response to the allegations of Paragraph 394 of the AMCC, GSK admits only

that, in March 1996, Glaxo Wellcome, Inc. increased its Net Wholesale Price (NWP) and

Average Wholesale Price (AWP) for Zofran by 4.9% for NDCs 00173-0442-00 and 00173-0461-

00 and by 8.6% for NDC 00173-0442-02, and SmithKline Beecham Corporation increased its

Wholesale Purchase Price (WPP) and Suggested List Price (SLP) for Kytril by 4.8%. Except as

so admitted, GSK denies the remaining allegations of this Paragraph.       To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.      Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.




                                              18
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 19 of 25




          395.   GSK denies the allegations of Paragraph 395 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.          Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          396.   GSK denies the allegations of Paragraph 396 of the AMCC. It is specifically

denied that the document referred to in this paragraph was prepared by Glaxo Wellcome, Inc. To

the extent the allegations in this Paragraph refer to a document, that document speaks for itself.

Any allegations inconsistent with the plain meaning and clear terms of the complete document

are denied.

          397.   GSK denies the allegations of Paragraph 389 of the AMCC. It is specifically

denied that the documents referred to in this Paragraph were prepared by Glaxo Wellcome, Inc.

To the extent the allegations in this Paragraph refer to documents, those documents speak for

themselves. Any allegations inconsistent with the plain meaning and clear terms of the complete

documents are denied.

          398.   GSK denies the allegations of Paragraph 398 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.          Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          399.   GSK denies the allegations of Paragraph 399 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.          Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.




                                               19
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 20 of 25




          400.   GSK denies the allegations of Paragraph 400 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.         Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          401.   GSK denies the allegations of Paragraph 401 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.         Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          402.   In response to the allegations of Paragraph 402 of the AMCC, GSK admits only

that Kytril was sold to Hoffman-LaRoche, Inc. in December 22, 2000. Except as so admitted,

GSK denies the remaining allegations of this Paragraph. To the extent the allegations in this

Paragraph refer to a document, that document speaks for itself. Any allegations inconsistent with

the plain meaning and clear terms of the complete document are denied.

          403.   GSK denies the allegations of Paragraph 403 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.         Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          404.   GSK denies the allegations of Paragraph 404 of the AMCC. To the extent the

allegations in this Paragraph refer to documents, those documents speak for themselves. Any

allegations inconsistent with the plain meaning and clear terms of the complete documents are

denied.

          405.   GSK denies the allegations of Paragraph 405 of the AMCC.




                                               20
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 21 of 25




          406.   To the extent the allegations of Paragraph 406 of the AMCC refer to a document,

that document speaks for itself. Any allegations inconsistent with the plain meaning and clear

terms of the complete document are denied.

          407.   GSK denies the allegations of Paragraph 407 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          408.   GSK denies the allegations of Paragraph 408 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          409.   GSK denies the allegations of Paragraph 409 of the AMCC.

          410.   GSK denies the allegations of Paragraph 410 of the AMCC.

          411.   GSK denies the allegations of Paragraph 411 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          412.   GSK denies the allegations of Paragraph 412 of the AMCC. To the extent the

allegations in this Paragraph refer to a document, that document speaks for itself.        Any

allegations inconsistent with the plain meaning and clear terms of the complete document are

denied.

          413.   In response to the allegations of Paragraph 413 of the AMCC, GSK admits that

Kytril was effective when dosed based on the weight of the patient and, as a result, in some




                                                21
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 22 of 25




cases, physicians may have used less than 1 mg of the single dose vial. GSK further admits that,

beginning in July 1997, it manufactured and sold a 4 mg multi-dose vial of Kytril. Except as so

admitted, GSK denies the remaining allegations of this Paragraph. To the extent the allegations

in this Paragraph refer to a document, that document speaks for itself.             Any allegations

inconsistent with the plain meaning and clear terms of the complete document are denied.

       414.    GSK denies the allegations of Paragraph 414 of the AMCC.

       415.    GSK denies the allegations of Paragraph 415 of the AMCC. To the extent the

allegations in this Paragraph refer to a report by the Department of Health and Human Services,

that report speaks for itself. Any allegations inconsistent with the plain meaning and clear terms

of the report are denied. It is specifically denied that the table in this Paragraph and/or the report

by the Department of Health and Human Services accurately calculated the AWP, the “actual

AWP,” the “difference,” and/or the “percentage spread.”

       416.    GSK denies the allegations of Paragraph 416 of the AMCC.

       417-540. The allegations in Paragraphs 417 through 540 of the AMCC are directed to

other defendants and require no response from GSK. To the extent allegations in Paragraphs 417

through 540 of the AMCC are deemed to include allegations against GSK, they are denied.

                       VI.     PLAINTIFFS’ CLAIM FOR DAMAGES

       541.    GSK denies that Plaintiffs have suffered damages or injuries as alleged in

Paragraph 541 of the AMCC. GSK is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 541 of the AMCC and, therefore,

denies those allegations.

              VII.   PLAINTIFFS’ CLAIMS CONCERNING TOGETHER RX

       542-546. GSK denies the allegations in Paragraphs 542 through 546 of the AMCC.




                                                 22
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 23 of 25




       547.    GSK is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 547 of the AMCC and, therefore, denies those allegations.

       548.    GSK admits that, at present, the Medicare Program generally does not cover the

cost of self-administered prescription medicines and that Congress has debated the issue of

prescription medicine coverage under the Medicare Program. GSK is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

548 of the AMCC and, therefore, denies those allegations.

       549.    GSK admits that in recent legislative sessions Congress, in keeping with its role

as the legislative branch of the Federal Government, has focused on the pricing of prescription

medicines in the United States and on reforming the Medicare and Medicaid prescription

medicine programs. To the extent the allegations in Paragraph 549 of the AMCC refer to the

knowledge, conduct or actions of persons or entities other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations. GSK states that the April 4, 2001 Prescription Drug Fairness for Seniors Act

cited in Paragraph 549 of the AMCC is the best evidence of its contents. GSK denies that

Plaintiffs have accurately characterized any alleged finding, opinion, statement or conclusion

contained in this document or allegedly made by Congressman Allen.                To the extent the

remaining allegations in Paragraph 549 of the AMCC are deemed to include allegations against

GSK, they are denied.

       550.    To the extent the allegations in Paragraph 550 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK admits that it participates in the Together Rx Card




                                                 23
       Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 24 of 25




Program, which commenced in 2002 and allows poor, elderly Americans to enjoy substantial

discounts on covered medicines. GSK denies the remaining allegations in Paragraph 550 of the

AMCC that pertain to it.

        551-553. GSK admits that in October 2001, it launched its Orange Card, and states that

the GSK press release cited in and used as the source for Paragraphs 551 through 553 of the

AMCC is the best evidence of its contents. Any allegations inconsistent with the plain meaning

of the press release are denied.

        554-555. GSK admits that it issued a press release on October 3, 2001 (not 2002, as

alleged in Paragraph 554 of the AMCC) and states that that press release is the best evidence of

its contents. Any allegations inconsistent with the plain meaning of the press release are denied.

        556.     GSK admits the allegations in the first two sentences of Paragraph 556 of the

AMCC. As to the third sentence of that Paragraph, GSK admits that Orange Card and Together

Card participants receive nearly identical discounts on all GSK outpatient prescriptions.

        557-561. The allegations in Paragraphs 557 through 561 of the AMCC are directed to

another defendant and require no response from GSK. To the extent allegations in Paragraphs

557 through 561 of the AMCC are deemed to include allegations against GSK, they are denied.

        562.     GSK states that the press release cited in Paragraph 562 of the AMCC is the best

evidence of its contents. GSK denies the remaining allegations in Paragraph 562 of the AMCC

that pertain to it.

        563-565. To the extent the allegations in Paragraphs 563 through 565 of the AMCC refer

to the knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. GSK states that the March 12, 2002, Reuters article




                                                24
      Case 1:01-cv-12257-PBS Document 795-2 Filed 04/09/04 Page 25 of 25




cited in Paragraph 564 of the AMCC is the best evidence of its contents. To the extent the

remaining allegations in Paragraphs 563 through 565 of the AMCC are deemed to include

allegations against GSK, they are denied.

       566.    GSK admits that it participates in the Together Rx Card Program, which

commenced in 2002 and allows poor, elderly Americans to enjoy substantial discounts on

covered medicines. GSK is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 566 of the AMCC and, therefore, denies those

allegations.

       567.    GSK denies knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 567 of the AMCC as to the other parties. GSK admits that discounts

are or were available through the Together Rx Program on a number of GSK drugs, including

Agenerase, Albenza, Alkeran Tablets, Amerge, Amoxil, Augmentin, Avandamet, Avandia,

Avodart, Bactroban Cream, Beconase, Ceftin Tablets and Powder for Oral Suspension,

Combivir, Compazine, Coreg, Daraprim Tablets, Dyazide, Epivir, Epivir-HBV, Eskalith CR,

Flonase, Flovent, Imitrex, Lamictal, Lanoxicaps, Lanoxin, Leukeran Tablets, Malarone, Mepron,

Myleran, Parnate, Paxil, Purinethol, Relafen, Relenza, Requip, Retrovir, Serevent, Stelazine,

Tagamet, Tabloid brand Thioguanine, Thorazine, Trizivir, Valtrex, Ventolin, Wellbutrin, Zantac,

Ziagen, Zofran, Zovirax and Zyban. GSK denies the remaining allegations of Paragraph 567 of

the AMCC.

       568-571. The allegations in Paragraphs 568 through 571 of the AMCC are directed to

other defendants and require no response from GSK. To the extent allegations in Paragraphs 568

through 571 of the AMCC are deemed to include allegations against GSK, they are denied.




                                               25
